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                   LAW OFFICES OF DAVID D. FISCHER
______________________A PROFESSIONAL CORPORATION______________________
First Northern Bank Building                                       Telephone: (916) 447-8600
1007 7th Street, Suite 100                                               Fax: (916) 930-6482
Sacramento, CA 95814                                                  davefischer@yahoo.com



           APPLICATION UNDER FED. R. CRIM. P. 17(b) FOR SUBPOENAS

DATE:                  May 8, 2014

TO:                    Honorable Troy L. Nunley
                       US District Judge

FROM:                  David Fischer, Attorney at Law, SBN: 224900

SUBJECT:               Application under Fed R. Crim. P. 17(b) for subpoenas for witnesses to
                       appear at sentencing hearing.


Case: U.S. v. Jose Hernandez-Garcia
      Case No. 2:12-CR-0039 TLN
      Defendant: Jose Hernandez-Garcia

        This memorandum is an application under Fed. R. Crim. P. 17(b) for subpoenas in the
above-entitled matter to be issued and for an order authorizing the U.S. Marshals Service to
serve subpoenas and pay witness fees, if any. The defendant has previously completed a
Financial Affidavit demonstrating that he is qualifies for the appointment of counsel. He is
unable to pay witness fees. See Fed. R. Crim. P. 17(b). Mr. Hernandez-Garcia has a sentencing
hearing scheduled for June 5, 2014, at 9 a.m.
        Mr. Hernandez-Garcia has been diagnosed with end stage liver disease. Based on the
limited research I have done, I have learned that persons with end stage liver disease will die
from the condition, unless they are candidates for a liver transplant and they receive a liver
transplant before their condition deteriorates to the point where they will not survive the surgery.
        Mr. Hernandez-Garcia is in custody at the Sacramento Main Jail. After being admitted to
Sutter General Hospital on December 10, 2012, for profound gastrointestinal bleeding, on
December 14, 2012, Dr. Richard T. Kim, M.D., wrote in Mr. Hernandez-Garcia’s medical record
that he should be evaluated for a liver transplant.
        According to the medical records provided from the jail, Dr. Robert Padilla, M.D. has
been one of the physicians providing care to the defendant since August 2012. The medical
records reflect that no one has done anything to have Mr. Hernandez-Garcia evaluated for a liver
transplant since Dr. Kim identified the need for one on December 14, 2012.
        The medical records provided to probation have convinced them that a variance down to
credit for time served is an appropriate sentence for Mr. Hernandez-Garcia based on his medical
condition. However, since the medical records do not explicitly state that Mr. Hernandez-Garcia
is terminally ill, the Government is not currently convinced that credit for time served is an
appropriate sentence. The parties met and conferred and agreed that a doctor from either U.C.
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Davis or Sutter Pacific Medical Foundation should evaluate the defendant and provide
information about his prognosis.
         I have personally sought help from U.C. Davis Medical Center and from Sutter Pacific
Medical Foundation. Specifically, I have made efforts to identify doctors who would be willing
to examine the defendant, review his medical records, and provide a report about his condition,
and what the cost would be for such services. I have been unable to get a call back from either
U.C. Davis or Sutter Pacific Medical Foundation from a doctor willing to even talk to me.
         Since Dr. Richard T. Kim, M.D. actually treated Mr. Hernandez-Garcia, it is necessary to
issue a subpoena to him so that he can attend the sentencing hearing and describe Mr.
Hernandez-Garcia’s medical condition and confirm that he will die from the disease without a
liver transplant.
         It is also necessary to subpoena Dr. Robert Padilla, M.D. to attend the sentencing hearing
to confirm that nothing has been done to evaluate whether Mr. Hernandez-Garcia is eligible for a
liver transplant.
         Accordingly, I request an order authorizing subpoenas to be issued to Dr. Richard T.
Kim, M.D. and Robert Padilla, M.D. and for an order directing the U.S. Marshals Service to
serve the witness subpoenas and pay witness fees, if any, under Rule 17(b).
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                                              ORDER


        Authorization for issuance of the subpoenas to Dr. Richard T. Kim, M.D, and Robert
Padilla, M.D. and service and payment of the witnesses by the U.S. Marshal’s is hereby granted.



Dated: May 8, 2014




                                                       Troy L. Nunley
                                                       United States District Judge
